§AO 245B (Rev. ]2/03) .ludgment in a Crirninal Case

 

 

 

 

 

 

 

NCED Sheet 1
_=i
UNITED STATES DISTRICT COURT
Eastern District of North Caro|ina
UN]TED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
Case Nurnber: 5 :1 1-CR-229-11F
` HAN| Ml
8 rEP E S TH USM Nurnbei':55591-056

JAMES B. CRAVEN, |||
Defendant’s Attomey

THE DEFENDANT:

d pleaded guilty to count(s) ONE - |NDlCTM ENT

l:l pleaded nolo contendere to count(s)

which was accepted by the court
E| was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Tltle § §ection Nature of Offense Offense Ended Count

21 U.S.C. § 846 Conspiracy to Manufacture. Distrlbute, and Possess Wlth 8/3/2011 1

lntent to D|str|bute 500 Grams or Mora of a Mixture
Containlng Methamphetamlne
The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant to

the Seritencing Reform Act of 1984.
l:l The defendant has been found not guilty on count(s)

 

d Count(s) 2, 3, 12, 13, 14 l:l is d are dismissed on the motion of the United States.

_ ' lt is ordered t_hat the defendant _must notify the Un_ited States attorney for this distrth within 30 da s of any change of name, residence,
or mailin address until_ all fines, restitution,,costs, and special assessments imposed by this Judgme_nt are fu ly paid. If ordered to pay restitution,
the defen ant must notify the court and United States attorney of material changes in economic circumstances

Sentericing Location: 3/2/'2012
WlLMlNGTON, NORTH CAROL|NA Date of lmposition of .ludgment

~€`1»

Si re of lodge

 

 

JAMES C. FOX, SEN|OR U.S». DlSTFl|CT JUDGE
Nai:ne and Title of Judge

 

3/2/201 2
Date

 

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AO 2458 (Rev. l2/03) Judgment in Criminal Case
NCED Sheet 2 _ imprisonment

Judgment _ Page 2 of 6
DEFENDANT: STEPHAN|E SM|TH

CASE NUMBER: 5:11-CF(-229-11F

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

93 months - The court recommends that the Bureau of Pr|sons designate the North Caro|ina Department of Correction to be the
place of service of this sentence, thereby making this sentence concurrent with the defendant's imprisonment
pursuant to the judgment in Johnston County Superior Court, Docket Numbers 110R850290 and 110R850291.

d The court makes the following recommendations to the Bureau of Prisons:

The court recommends that the defendant receive intensive drug treatment and be incarcerated at FC| A|derson.

d The defendant is remanded to the custody of the United States Marshal.

[:l The defendant shall surrender to the United States Marshal for this district:
l:l at [l a.m. l:l p.m. on
l:l as notified by the United States Marshal.

 

[:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l|] before p.m. on

 

[]\] as notified by the United States Marshal. :] Or

l:I as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

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AO 245B (Rev. 12/03) Judgment in a Criminal Case
NCED Sheet 3 - Supervised Release

J d t_P 3 f §
DEFENDANT: STEPHAN|E SMiTH “ gm age °

CASE NUMBERZ 5:11-CF1-229-11F
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
5 YEARS

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfiill possess a controlled substance. The defendant shal_l refrain from any unlawful use of a controlled
substance The defendant shall su mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
substance abuse.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with _the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

l:l l:lSL`SLl:l

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this `udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.
STANDARD CONDITIONS OF SUPERVISION

l. Ttl_}_e defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
o icer.

2. The defendant shall report to' the probation officer as directed by the court or probation officer and shall submit a truthiiil and
complete written report within the first five (5) days of each month.

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4. The defendant shall support the defendant’s dependents and meet other family responsibilities

The defendant shall work regularly at a lawfiil occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons.

6. The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess use distribute, or administer any controlled
substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.

8. The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
places specified by the court

9, The defendant shall not associate with any persons en aged in criminal activity, and shall not associate with any person convicted of
a felony unless granted permission to do so by the pro ation officer.

lO. The defendant shall permit a probation officer to visi_t the defendant at any time at home or elsewhere and shall permit confiscation of
any contraband observed in p ain view by the probation officer.

ll. TPte defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
o icer.

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court

13. As directed by the probation officer, the defendant shall noti third parties of risks that may be occasioned by the defendant’s
1

criminal record or personal history or characteristics, and sha l permit the probation officer to make such noti cations and to confirm
the defendant’s compliance with such notification requirement

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NCED Sheet 3C _ Supervised Release

Judgment_Page § of 6
DEFENDANT: STEPHAN|E SM|TH

CASE NUMBER: 5:11-CR-229-11F

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
oifice.

The defendant shall provide the probation office with access to any requested financial information.

T he defendant shall cooperate in the collection of DNA as directed by the probation oificer.

The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
and may require residence or participation in a residential treatment facility.

he defendant shall participate in a program of mental health treatment as directed by the probation oifice.

The defendant shall consent to a warrantless search by a United States Probation Officer or, at the request of the
probation officer, any other law enforcement officer, of the defendant’s person and premises, including any vehic|e, to
determine compliance with the conditions of this judgment

`l' he defendant shall participate in a vocational training program as directed by the probation oifice.

The defendant shall abstain from the use of alcoholic beverages, shall not associate with individuals consuming alcoholic

beverages, shall not frequent business establishments whose primary product to the consumer is alcoholic beverages, and

shall not use any medication containing alcohol without the permission of the probation office or a prescription from a
licensed physician.

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AO 245B (Rev. 12/03) Judgment in a Criminal Case
NCED Sheet 5 _ Criminal Monetary Penalties

Judgment _ Page 5 of J__

 

DEFENDANT; STEPHAN|E SM|TH
CASE NUMBER; 5:11-CFl-229-11F
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS S 100.00 S S 7,128.22
l:l The determination of restitution is deferred until . An Amended Judgment in a Cri'minal Case (AO 245C) will be entered

after such determination
d The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ee shall receive an approximately/lpro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee _'Ifg_tgLLgs§_* Restitution Ordered Priority or Percentage
Drug Enforcement Administration $4,492.00 $4,492.00
Johnston County Sheriff’s Department $1,776.00 $1,776.00
Days lnn * joint & sever with David Lewis $860.22 $860.22
TOTALS $7,128.22 $7,128.22

I:I|] Restitution amount ordered pursuant to plea agreement $

I:I|] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

d The court determined that the defendant does not have the ability to pay interest and it is ordered that:
|:| the interest requirement is waived for the |:| fine d restitution.

l:l the interest requirement for the l:l fine l:l restitution is modified as follows:

* F indings for the total amount of losses are re%uired under Chapters 109A, l 10, l 10A, and l 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199 .

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AO 2458 (Rev. 12/03) Judgment in a Criminai Case
NCED Sheet 6 _ Schedule of Payments

Judgment - Page § of §
DEFENDANT: STEPHAN|E SM|TH

CASE NUMBER: 5211-CFi-229-11F

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A l:] Lump sum payment of $ due immediately, balance due

|:| not later than ,or
[:j in accordance |:| C, |:| D, |:| E, or I:I Fbelow; or

B I:I Payment to begin immediately (may be combined with I:I C, |:| D, or |:| F below); or

C |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D I:I Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F jj Special instructions regarding the payment of criminal monetary penalties:

The special assessment & restitution shall be due in full immediateiy. if the defendant is unable to pay in full lmmedlateiy, the
special assessment and restitution may be paid through the inmate Financial Responsibility Program. The court, having
considered the defendant’s financial resources and ability to pay, orders that any balance still owed at the time of release shall be
paid in installments of $50 per month to begin 60 days after the defendant’s release from prison. At the time of the defendant’s
reiease, the probation officer shall take into consideration the defendant’s ability to pay the restitution ordered and shall notify the
court of any needed modification of the payment scheduie.

Unless the court has expressly ordered otherwise, if this judghment imposes imprisonment, §a§rnent of criminal monetary penalties is due durin
t 6

imprisonment, All crimina moneta penalties, except t ose payments made throug Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to t e clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

ij Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

$860.22 total payable to Days inn.
Amount due joint and sever between Stephanie Smith - 5:11-CFl-229-11F and
co-defendant, David Lewis - 5:11-CFl-229-8F (sentencing pending)

l:l The defendant shall pay the cost of prosecution

i:i

The defendant shall pay the following court cost(s):

l:i The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in _the foll_ow_ing order: (lu assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

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